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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        ) CR 314-002
                                                 )
LUTHER HURST                                     )


                                           ORDER


       Before the Court are the various pre-trial discovery motions filed by the parties. Many (if

not all) discovery issues should be addressed in full by the Court’s rulings below and the liberal

discovery policy that the government has confirmed it is applying in this case. To the extent, if

any, either party believes there are specific inadequacies in the discovery exchanged to date that

are not addressed below, the Court directs such party to confer in good faith with the opposing

party and file, if necessary, a discovery motion and supporting brief within seven days from the

date of this Order.

                             GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with investigative reports, Defendant’s criminal

history, audio and video recordings, and other documentary materials as set forth in the First

Certificate of Disclosure. (Doc. no. 173; doc. no. 226, p. 1.) Accordingly, the Court finds that

the position of the United States Attorney in permitting liberal disclosure of the government’s
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file pertaining to this case renders the general discovery requests MOOT. (Doc. no. 186.)

                             MOTION FOR DISCLOSURE OF
                       EXCULPATORY AND IMPEACHING MATERIAL

        Defendant seeks the disclosure of exculpatory and impeaching information in accordance

with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972). (Doc. no. 185.) To some extent, Defendant’s requests exceed the scope of the

requirement in Brady for government disclosure of information that is favorable to a defendant

and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United States v. Agurs,

427 U.S. 97 (1976). The Court GRANTS the motion to the extent that the government must

provide all Brady material to Defendant within five days of the date it is received or its existence

becomes known. The government must disclose impeaching information not less than fourteen

days prior to trial.

                 MOTION FOR NOTICE BY THE GOVERNMENT OF THE
                INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
                  PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

        Defendant seeks notice of the government’s intention to use at trial evidence of “other

crimes, wrongs or acts” under Fed. R. Evid. 404(b). This motion is MOOT (doc. no. 187)

because the Court, in its Arraignment Order, directed the government to provide such notice in

accordance with the Local Rules.

           MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

        The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant with

statements of witnesses immediately following their testimony in court. There is no authority for

the Court to grant an early release or disclosure of that material. United States v. Schier, 438


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F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215, 1251 & n.78 (11th

Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir. 1980). Yet because the

government does not oppose the motion and early disclosure of Jencks Act material will avoid

unnecessary delay and inconvenience to the Court and jury, the government is INSTRUCTED

to provide Jencks Act material fourteen days prior to trial. (Doc. no. 188.)

                         MOTION FOR RECIPROCAL DISCOVERY

       The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence Defendant

intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s willingness to

provide liberal discovery and the unopposed nature of the request, the Court GRANTS this

motion (doc. no. 225), and any information not yet furnished shall be provided to the

government no later than fourteen days prior to trial.

       SO ORDERED this 27th day of October, 2014, at Augusta, Georgia.



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                                                               BRIAN K EFik
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                                                               UNITED STATES MAGISTRATE JUDGE
                                                               SOUTHERN DISTRICT OF GEORGIA




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